      Case 1:19-cv-04330-LMM Document 87 Filed 07/06/20 Page 1 of 10




              IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION




MARCIA SCOTT AND ISRAEL
SCOTT (for themselves and as a
representative of their minor child),
                                             JURY TRIAL DEMANDED
Plaintiff,

                                             CIVIL ACTION
vs.                                          FILE NO.: 1:19-cv-04330-LMM

SAFECO INSURANCE COMPANY OF
INDIANA, A LIBERTY MUTUAL
COMPANY, AND SHILAN PARHAM

Defendant.



             PLAINTIFFS’ FIRST AMENDED COMPLAINT

  COMES NOW Marcia Scott and Israel Scott, plaintiffs, and make and file this

complaint against defendants Safeco Insurance Company of Indiana, A Liberty

Mutual Company (Safeco) and Shilan Parham as follows:



                         PARTIES AND JURISDICTION

                                        1.
        Case 1:19-cv-04330-LMM Document 87 Filed 07/06/20 Page 2 of 10




       Plaintiffs Marcia Scott and Israel Scott, Georgia citizens, are subject to the

jurisdiction of this court.

                                          2.

       Defendant Safeco Insurance Company of Indiana, A Liberty Mutual

Company (Safeco) is a foreign corporation existing under the laws of Indiana with

its principal place of business in Massachusetts and may be served through its

registered agent Corporation Service Company at 40 Technology Parkway South,

Suite 300, Norcross, Georgia 30092 and is subject to the jurisdiction of this court

under federal diversity jurisdiction because both Defendants are non-citizens of

Georgia

                                          3.

       Defendant Shilan Parham resides at 7325 Beacon Hill Lane, Apt. 15,

Charlotte, NC 28270-5992, and may be served with a copy of the summons and

complaint at this address. Defendant Parham is subject to the jurisdiction of this

court under federal diversity jurisdiction because both Defendants are non-citizens

of Georgia.



                                     BACKGROUND

                                           2
       Case 1:19-cv-04330-LMM Document 87 Filed 07/06/20 Page 3 of 10




                                         4.

      On or about August 31, 2017, plaintiff Marcia Scott and her unborn minor

child were injured in an automobile accident where they were rear ended by the at

fault driver, Shilan Parham, insured by State Farm Automobile Insurance

Company (State Farm), resulting in serious personal injuries.

                                         5.

      At the time of the accident, defendant had issued a policy of underinsured

motorist insurance in the amount of $100,000.00 per person and $300,000.00 per

accident for each of the two vehicles on the policy at issue, covering bodily injury

caused by the negligence of the at fault driver, Shilan Parham.

                                         6.

      Upon receipt of Plaintiffs’ demand letter, Safeco Insurance Company of

Indiana has refused to offer any settlement amount to Plaintiffs.



                                     COUNT 1

      DEFENDANT SAFECO’S NEGLIGENT FAILURE TO SETTLE

                                         7.



                                          3
       Case 1:19-cv-04330-LMM Document 87 Filed 07/06/20 Page 4 of 10




      Plaintiffs reallege and incorporate herein the allegations contained in

paragraphs 1 through 6 above as if fully restated.

                                          8.

      Defendant Safeco was negligent in failing to accept the policy limits demand

made by plaintiff’s counsel on June 12, 2019 and in failing to settle plaintiffs’

claims within the policy limits.

                                          9.

      Defendant Safeco placed its own interests in front of the interests of its

insured.

                                          10.

      Plaintiffs are entitled to recover from defendant Safeco the verdict plus

interest due to defendant Safeco’s negligence in failing to settle plaintiffs’ claim.



                                      COUNT 2

    DEFENDANT SEFECO’S NEGLIGENT HIRING, TRAINING AND

                                   SUPERVISION

                                          11.



                                           4
        Case 1:19-cv-04330-LMM Document 87 Filed 07/06/20 Page 5 of 10




      Plaintiffs reallege and incorporate herein the allegations contained in

paragraphs 1 through 10 above as if fully restated.

                                        12.

      Defendant Safeco was negligent in hiring, training and supervising its

employees concerning the handling of policy-limits demands.

                                        13.

      Defendant Safeco’s negligence in hiring, training and supervising its

employees concerning the handling of policy-limits demands will be the sole and

proximate cause of any excess verdict in this case.

                                      COUNT 3

                     NEGLIGENCE OF SHILAN PARHAM

                                        14.

      Plaintiff realleges and incorporates herein the allegations contained in

paragraphs 1 through 13.

                                        15.

      Defendant Shilan Parham was negligent in the following manner: following

too closely to plaintiff’s vehicle.

                                         16.

                                         5
        Case 1:19-cv-04330-LMM Document 87 Filed 07/06/20 Page 6 of 10




       Defendant Shilan Parham was negligent in failing to maintain a proper

lookout for plaintiff’s vehicle.

                                          17.

       As a result of defendant’s negligence, plaintiffs Marcia Scott and her unborn

child suffered personal injuries.

                                          18.

       Defendant’s negligence is the sole and proximate cause of plaintiffs’

injuries.



       WHEREFORE, plaintiffs pray that they have a trial on all issues and

judgment against defendants as follows:

       a.    That plaintiffs recover the following damages:

             General Damages:

             Physical and emotional pain and suffering of minor: $1,000,000.00

             Loss of consortium for Mr. Scott: $50,000.00

             Total General Damages: $1,050,000.00



             Total Damages

                                           6
      Case 1:19-cv-04330-LMM Document 87 Filed 07/06/20 Page 7 of 10




            $1,050,000.00; or that plaintiffs recover any excess verdict;



     b.     That the plaintiffs recover reasonable attorneys’ fees and costs of

            litigation;

     c.     That the plaintiffs recover such other and further relief as is just and

            proper; and

     d.     That all issues be tried before a jury.



     This    6th   day of July 2020.



                                       LAW OFFICE OF J. SCOTT GOZA, LLC

                                          By: /s/ Jamillah Goza
                                          Jamillah Goza
                                          Georgia Bar No. 455213
                                          Attorney for Plaintiffs

3775 Stagecoach Pass
Ellenwood, Georgia 30294
770-203-8513
Fax: 678-884-6437
jamillahgoza@yahoo.com




                                          7
      Case 1:19-cv-04330-LMM Document 87 Filed 07/06/20 Page 8 of 10




                    CERTIFICATE OF COMPLIANCE



     The undersigned hereby certifies that the foregoing pleading complies with

the font and point selections approved by the Court in Local Rule 5.1C. This

Complaint has been prepared in Times New Roman font, 14 point.




                                      By:    /s/ Jamillah Goza

                                      Jamillah Goza
                                      Georgia Bar No. 455213
                                      Attorney for Plaintiffs

3775 Stagecoach Pass
Ellenwood, Georgia 30294
770-203-8513
Fax: 678-884-6437
jamillahgoza@yahoo.com




                                      8
        Case 1:19-cv-04330-LMM Document 87 Filed 07/06/20 Page 9 of 10




                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 MARCIA SCOTT AND ISRAEL
 SCOTT (for themselves and as a
 representative of their minor child),
                                               JURY TRIAL DEMANDED
 Plaintiff,

 vs.                                           CIVIL ACTION
                                               FILE NO.: 1:19-cv-04330-LMM
 SAFECO INSURANCE COMPANY OF
 INDIANA, A LIBERTY MUTUAL
 COMPANY, AND SHILAN PARHAM

 Defendant.


                          CERTIFICATE OF SERVICE

       This is to certify that on this 6th day of July 2020 I electronically filed the

foregoing PLAINTIFFS’ FIRST AMENDED COMPLAINT with the Clerk of

Court using CM/ECF system, which will automatically send e-mail notification of

such filing to the following:



                               Hilary W. Hunter, Esq.
                                Brent J. Kaplan, Esq.
                              Isenberg & Hewitt, P.C.
                            600 Embassy Row, Suite 150
                                          9
      Case 1:19-cv-04330-LMM Document 87 Filed 07/06/20 Page 10 of 10




                             Atlanta, GA 30328
                       bjkaplan@isenberg-hewitt.com
                        hilary@isenberg-hewitt.com

                         Matthew J. Hurst, Esq.
                         Marcia S. Freeman, Esq.
                 Waldon Adelman Castilla Heistand & Prout
                      900 Circle 75 Parkway, #1040
                           Atlanta, GA 30339
                         mfreeman@wachp.com
                          mhurst@wachp.com



                                 LAW OFFICE OF J. SCOTT GOZA, LLC
                                   By: /s/ Jamillah Goza
                                   Jamillah Goza
                                   Georgia Bar No. 455213
                                   Attorney for Plaintiffs

3775 Stagecoach Pass
Ellenwood, Georgia 30294
770-203-8513
Fax: 678-884-6437
jamillahgoza@yahoo.com




                                    10
